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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

                  SUPERSEDING BILL OF INFORMATION FOR FORCED LABOR
                                                                                   FELONY
                 CONSPIRACY, FORCED LABOR, AND MISPRISION OF A FELONY


     UNITED STATES OF AMERICA                      *          CRIMINAL NO.: 18-160

                    v.                             *          SECTION: "J"

     RAYLAINE KNOPE                                *      VIOLATIONS:            18 u.s.c. § 371
                                                                                 18 u.s.c. § 1589
                                                   *                             18 u.s.c. § 4

                                             *     *      *

            The United States Attorney charges:

                                            COUNT ONE
                                      (Conspiracy, Forced Labor)

     A.     AT ALL TIMES MATERIAL HEREIN:

            1.      Defendant RAYLAINE KNOPE (KNOPE) was the wife ofT.J.K.; the mother of

     B.L. and J.L., and the step-mother of T.K. D.P. was a relative of KNOPE's. D.P. has been

     diagnosed with disabilities, including autism. D.P. received federal Supplemental Security Income

     ("SSI") from the federal Social Security Administration ("SSA") because of her disabilities.

            2.      In August 2015, KNOPE, T.J.K., J.L., B.L., and T.K. lived in a house in Kentwood,

     Louisiana. D.P. and D.P.'s mother lived with them.
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        3.     On August 12, 2015, D.P. 'smother died. A short time later, KNOPE, T.J.K., J.L.,

and T.K. moved to a mobile home located on Rushing Lane in Amite, Louisiana ("the Rushing

Lane property"), taking D.P. with them. B.L. periodically lived at the Rushing Lane property.

        4.     On or about August 13, 2015, T.J.K. applied to be representative payee for D.P.'s

SSI benefits. As D.P.'s representative payee, T.J.K. was required by the SSI program to spend all

of the benefits he received on D.P.'s behalf only for D.P.'s living expenses.

B.      THE CONSPIRACY:

        Beginning on or about August 13, 2015, and continuing through on or about June 30, 2016,

within the Eastern District of Louisiana and elsewhere, the defendant, RAYLAINE KNOPE,

conspired, combined, and agreed with others known and unknown to the United States Attorney,

including T.J.K., J.L., B.L., and T.K., to knowingly violate 18 U.S.C. § 1589. Specifically, the

defendants conspired, combined, and agreed to knowingly provide and obtain the labor and

services of D.P. by means of force, threats of force, physical restraint, and threats of physical

restraint to D.P.; by means of serious harm and threats of serious harm to D.P.; by means of the

abuse and threatened abuse of law and legal process; and by means of a scheme, plan, and pattern

intended to cause D.P. to believe that if D .P. did not perform such labor and services, D .P. would

suffer serious harm and physical restraint.

C.     MANNER AND MEANS OF THE CONSPIRACY:

       It was a part of the plan and purpose of this conspiracy that defendant KNOPE, T.J.K.,

J.L., B.L., and T.K. (collectively, "the family") forced D.P. to perform household work and yard

work for the family at the Rushing Lane property. The plan of the conspiracy was for the co-

conspirators to subject D.P. to physical restraint, consistent physical violence, threats of physical

violence, psychological and verbal abuse, abuse of legal process, and psychological manipulation



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     to obtain uncompensated household labor and services from D .P. As the conspiracy progressed,

     the family physically restrained D.P. by locking her in a backyard tent, a backyard shed, and later

     in a backyard cage to maintain control over her and to prevent her from escaping.

     D.      OVERT ACTS:

             In furtherance of this conspiracy and to effect the objects thereof, defendant KN OPE and

     her co-conspirators committed the following overt acts, among others, in the Eastern District of

     Louisiana:

             1.      At the Rushing Lane Property, although D.P. was initially permitted to sleep on a

     mattress on the floor inside the family's mobile home, KNOPE soon thereafter ordered D.P. to

     sleep outside in the backyard.

             2.      In the backyard, the family required D.P. to live first in a camping tent, then in a

     shed, and, finally, in a cage.

             3.      While D .P. lived in the tent, to prevent D .P. from escaping from the Rushing Lane

     property, KNOPE ordered T.K., J.L., and others to lock D.P. into the tent at night. While D.P.

     lived in the shed and in the cage, to prevent D.P. from escaping from the Rushing Lane property,

     KNOPE and T.J.K. ordered T.K., J.L., and others to lock D.P. into those structures.

             4.      Throughout the time D.P. lived at the Rushing Lane property, the family required

     D.P. to complete housework and yard work in exchange for food and water. The family did not

     pay D.P. for any of her work. Each day, the family required D.P. to clean up the yard.

             5.      At times, the family also required D.P. to clean the bathroom in the mobile home,

     clean the mobile home's kitchen, and wash the family's dishes, among other tasks.

             6.      Throughout the time D.P. lived at the Rushing Lane property, the family forced

     D .P. to eat lesser quality food than the rest of the family.



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             7.         When D.P. did not complete her work to KN OPE 's or T.J .K. 's liking, or when D.P.

     did not complete the work quickly enough, KNOPE and T.J.K. denied D.P. food.

             8.         Throughout the time D.P. lived at the Rushing Lane property, when D.P. did not

     complete her housework or yardwork to KNOPE's or T.J.K.'s liking, members of the family

     physically assaulted D.P. T.J.K. choked and kicked D.P. and KNOPE threw canned goods at D.P.

     for this reason.

             9.         On several occasions, the family forced D.P. to do housework in a demeaning

     fashion. KNOPE and T.J.K. forced D.P. to clean the kitchen and walls with a toothbrush.

             10.        KNOPE and T.J.K. required D.P. to cut the grass in the yard using scissors.

             11.        In the spring of 2016, at KNOPE's and T.J.K. 's direction, T.J.K. and J.L., with the

     help of others (including one ofKNOPE's minor children), built a cage for D.P. in the backyard

     of the Rushing Lane property. The cage consisted of a disused animal pen made out of chicken

     wire. A plastic tarp was placed over the top of the cage. J .L. cut tree branches and placed them

     over the tarp to hide the cage from sight. The family put a tent and a single bare mattress inside

     the cage. The family also put a five-gallon bucket in the cage for D.P. to use as a toilet.

             12.        Once the cage was complete, KNOPE and T.J.K. required D.P. to live in the cage.

             13.        Members of the family routinely physically assaulted D.P., causing D.P. physical

     injuries. On one occasion, after KNOPE stated to B.L. that D.P. should be punished, B.L. struck

     D.P. over the head with a wooden board, causing D.P. to bleed from her head such that blood

     dripped onto D.P. 's shirt and onto the floor.

             14.    After the assault described in paragraph 13, the family refused to provide D.P. with

     professional medical care because the family did not want anyone to know that they were abusing

     D.P. Instead, one of the family members used glue to close D.P.'s wound.



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        15.     On another occasion, B.L. held D .P. 's arm while T.J .K. burned D .P. with a cigarette

lighter by placing the flame directly on D.P. 's hand. While being burned, D.P. cried, stated that

the flame was causing her pain, and attempted to pull her arm away from the flame, but B.L. held

D.P.'s arm in place preventing D.P. from escaping the flame. As he burned D.P., T.J.K. told D.P.

that she was being punished for talking back to KNOPE.

        16.     On another occasion, T.J.K. shot D.P. with a BB gun at close range because of

D.P.'s disability, while telling D.P. she was a "retard" who "deserved to die."

        17.     On at least one occasion, KNOPE and T.J.K. hit D.P. with a wooden paddle.

        18.     On at least one occasion, T.J.K. punched D.P. in the head with his fist.

        19.     On at least one occasion, at KNOPE's direction, KNOPE's minor children kicked

and punched D.P. while telling D.P. that she was dumber than they were.

        20.     T.K., at KNOPE's direction, held D.P's head underwater in a bathtub as D.P.

struggled to come up for air.

        21.     KNOPE, J.L., T.J.K., and B.L. routinely threatened D.P. These threats included,

among other things, threats to shoot D .P. if she ever tried to escape the Rushing Lane property,

threats to beat D.P. if she disobeyed the family's orders, and threats to kill D.P. if she ever reported

the family to law enforcement.

        22.     J.L. threatened to cut D.P. 's throat if she ever spoke to law enforcement about her

abuse by the family.

        23.     KN OPE threatened to shoot D .P. if she ever tried to escape from the Rushing Lane

property.

        24.     Each member of the family, including KNOPE, routinely verbally and

psychologically abused D.P. The family routinely called D.P. "stupid" and "retarded" in reference



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to D.P.'s disability. KNOPE said, in reference to D.P., "This retarded girl will do anything you

say."

         25.   On one occasion, KNOPE forced D.P. to open an um containing D.P.'s deceased

mother's ashes, pour the ashes into a bowl with milk, and eat the ashes with a spoon. The family,

including KNOPE, watched and laughed at D.P. as she did so. D.P. vomited onto the table several

minutes after consuming the ashes.

         26.   On another occasion, T.J.K. and J.L. filled a bucket with urine and feces from the

family's septic tank and threw the human waste at D.P. D.P., who was covered from head to toe

with the urine and feces, began screaming while J.L. laughed. J.L. then sprayed D.P. with water

from an outdoor hose to clean her off. The family did not allow D.P. to shower or use soap to

clean off the human waste.

         27.   The family forced D.P. to lick soiled underwear.

         28.   The family forced D.P. to eat dog feces placed on bread.

         29.   J.L. and KNOPE forced D.P. to simulate sexual acts with ajalapefio pepper.

         30.   More than once, J.L. and KNOPE forced D.P. to make sexual advances toward

male visitors to the Rushing Lane property.

         31.   Throughout the time D.P. lived at the Rushing Lane property, KNOPE and T.J.K.

manipulated the legal process to advance the conspiracy by forcing D .P. to use methamphetamine

and prescription painkillers, then threatening to tum D.P. into the police for using drugs ifD.P. did

not obey the family's orders.

         32.    KNOPE and T.J.K. prevented D.P. from keeping possession of any state

identification, money, or means of communication, so as to prevent D.P. from escaping the

family's control or contacting law enforcement.



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        All in violation of Title 18, United States Code, Section 371.

                                          COUNT TWO
                                          (Forced Labor)

        A.     The allegations in Count One of this Superseding Bill of Information are re-alleged

and incorporated by reference as though fully set forth herein.

       B.      Beginning on or about August 12, 2015, and continuing through on or about June

30, 2016, within the Eastern District of Louisiana and elsewhere, the defendant, RAYLAINE

KNOPE, did knowingly provide and obtain the labor and services ofD.P. by any one of, and any

combination of, the following means:

       (1) force, threats of force, physical restraint, and threats of physical restraint to D.P.;

       (2) serious harm and threats of serious harm to D.P.;

       (3) abuse and threatened abuse of law and legal process; and

       (4) any scheme, plan, and pattern intended to cause D .P. to believe that, if D .P. did not

       perform such labor and services, D.P. would suffer serious harm and physical restraint.

       All in violation of Title 18, United States Code, Sections 1589(a) and (d).

                                        COUNT THREE
                                     (Misprision of a Felony)

       A.      The allegations in Count One of this Superseding Bill of Information are re-alleged

and incorporated by reference as though fully set forth herein.

       B.      Beginning on or about August 15, 2015, and continuing through on or about June

30, 2016, within the Eastern District of Louisiana, the defendant RAYLAINE KNOPE, having

knowledge of the actual commission of a felony cognizable by a court of the United States, did

conceal the same from law enforcement and did not as soon as possible make the illegal activity

known to a judge, agent, or other person in civil or military authority under the United States.



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Specifically, the defendant knew that T.J.K. stole D.P. 's Supplemental Security Income benefits

and used these funds for purposes other than to provide D .P. her basic living needs, in violation of

18 U.S.C. § 641, and the defendant took affirmative steps to conceal that fact and did not report

the illegal activity to any law enforcement official.

       All in violation of Title 18, United States Code, Section 4.


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New Orleans, Louisiana
May 9, 2019




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